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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ALICIA KIRTON,

                Plaintiff,

        v.

 CHAD F. WOLF, Acting Secretary,                            Civ. A. No. 18-1580 (RCL)
 Department of Homeland Security, and

 FEDERAL EMERGENCY MANAGEMENT
 AGENCY,

                Defendants.


            DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS

       Pursuant to Local Civil Rule 7(h)(2), Defendants Chad F. Wolf, Acting Secretary of the

U.S. Department of Homeland Security (“DHS”) and the Federal Emergency Management

Agency (“FEMA” or the “Agency”), by and through undersigned counsel, hereby submit the

following statement of material facts as to which there is no genuine dispute in support of

Defendants’ motion for summary judgment.

I.     Plaintiff’s Employment with FEMA

       1.      Plaintiff Alicia R. Kirton (“Plaintiff”) is an African-American female.

Am. Compl. ¶ 13 (ECF No. 4).

       2.      Defendant FEMA is an Agency of the United States Government and is

responsible for, among other things, responding to Presidentially-declared disasters pursuant to

the Robert T. Stafford Disaster Relief and Emergency Assistance Act (“Stafford Act”), 42 U.S.C.

§§ 5121 et seq.; see also Executive Order No. 12148 of July 20, 1979; 44 Fed. Reg. 43239.

       3.      Plaintiff worked as a GS-13 Budget Analyst in the Funds Control Branch within

the Budget Planning & Analysis Division (“BPAD”) of FEMA’s Office of the Chief Financial
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Officer (“OCFO”). Am. Compl. ¶ 14; A. Kirton Aff. ¶ 10 (June 18, 2017) (Report of

Investigation for Agency Case No. HS-FEMA-25619-2016 (“2017 ROI”), Tab F-1 at 3 of 10)

(Ex. 1).

       4.       As a Budget Analyst for FEMA, Plaintiff’s duties included: analyzing the funds

assigned to each assigned program within the Agency’s funding system, ensuring the program

funding is balanced, approving lines of accounting in the budget reporting system, and other

duties as assigned. Kirton Aff. ¶ 5 (Ex. 1); see also Position Description for Budget Analyst,

GS-0560-13 (ROI for Agency Case No. HS-FEMA-00630-2019 (“2019 ROI”), Tab F-6) (Ex. 2).

       5.       Plaintiff’s first-level supervisor was Melissa Ellis, the Acting Funds Control

Branch Chief within BPAD. Ellis Decl. ¶ 3 (Sep. 8, 2020) (Ex. 3).1

       6.       As a Budget Analyst, Plaintiff was assigned FEMA program offices with whom

she would coordinate to ensure their funds were allocated in the Agency’s financial system so

they could spend the money and execute FEMA’s mission. Ellis Decl. ¶¶ 12-13. To ensure

funding was allocated correctly, Plaintiff was tasked with reviewing the programs’ planned

budgetary activity. Id. ¶ 12.

       7.       Plaintiff’s job required that she meet with her customers, i.e., the program offices,

on a regular basis to review and discuss their plan to ensure their funding was in alignment with

their spend plan. Ellis Decl. ¶ 13. Representatives from various FEMA program offices

routinely come to BPAD’s offices in FEMA Headquarters to meet with Budget Analysts, such as

Plaintiff, when they have questions or need financial advice. Id. While this was sometimes done

by phone or video in the 2015 timeframe, some customers requested to meet with Budget



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      The Ellis Declaration and its accompanying Exhibits A through U are included as a
composite in Defendant’s Exhibit 3.

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Analysts in person. Id. As a supervisor, Ellis felt it was important to have Budget Analysts

physically come into the office to be available to provide those services to their customers. Id.

II.    The Agency’s Applicable Policies on Telework

                  FEMA Telework Manual

       8.         On January 9, 2013, the Agency implemented FEMA Manual 123-9-1, Telework.

See 2017 ROI, Tab G-5 (Ex. 4) (“FEMA Telework Manual”).

       9.         At FEMA, “[t]eleworking is a voluntary work alternative that may be appropriate

for some employees and some jobs.” Id., Foreword, at 3 of 24). But telework “is not an

entitlement and in no way changes the terms and conditions of employment with the Agency.”

Id.; see also id. § 2-1(A), at 16 of 24 (“[P]articipation in telework is not an employee

entitlement.”).

       10.        “The FEMA telework program embraces the premise that all positions are

presumed suitable for telework, unless the official duties require, on a daily basis, an employee

to be physically present at a worksite because the employee’s duties cannot be performed

remotely or from an alternate worksite.” Id. § 1-5, at 6 of 24 (emphasis added).

       11.        The FEMA Telework Manual states that “[i]f the employee does not regularly

commute into the agency office at least twice each biweekly pay period, the official duty station

must be changed to the alternate worksite.” Id. § 3-3(D), at 20 of 24 (emphasis in original).

       12.        Additionally, Section 1-7(J)(5) of the FEMA Telework Manual states that “[a]

request for approval for an employee to telework outside of their normal commuting area or in

another geographical area should be handled as a request for change of duty location and not a

telework request.” Id. at 13 of 24.

       13.        Among other things, employees are responsible for “completing and signing a

telework agreement detailing the location and requirements of the alternate worksite.” Id. at 14.

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               BPAD Telework Policy

       14.     In 2014 and early 2015, as the Agency moved to a more telework-friendly

environment, Shalini Benson, Deputy Budget Director of OCFO, expressed her expectation that

every manager still needed to see their employees at least twice a week physically in the office.

Benson Decl. ¶¶ 2, 12 (Sep. 8, 2020) (Ex. 5);2 Ellis Decl. ¶¶ 9-10; see also Kirton AFPD 717-18

(Ex. 6) (in response to an employee’s request to increase her telework to two days per week,

Benson wrote “I’d like to make sure that you a.) physically see everyone at least twice a week

and b.) have at least one day when your entire team is in. I’d also like to make sure you and I

overlap by at least two days, though preferably more.”).

       15.     OCFO’s duties involved a great deal of customer service, which Benson thought

was improved with face-to-face interaction. Benson Decl. ¶ 12. That said, Benson was willing

to grant exceptions on a case-by-case basis if sufficiently justified. Id.

       16.     On April 23, 2015, Benson sent an email of her “telework expectations” to her

management team. Benson Decl. ¶¶ 2, 13-14 & Ex. A (Kirton AFPD 727) (Ex. 5); Ellis Decl.

¶¶ 9-10. Benson emailed to let the team know her expectations regarding telework because there

had been some turnover in personnel. Benson Decl. ¶ 13.

       17.     Among other things, Benson advised her subordinates that she expected everyone

to report to their duty station at least twice per week and that managers see their employees twice

per week. Benson Decl. ¶ 13. Though not an official, Agency-wide policy, both Benson and

Ellis understood Benson’s email to contain a statement of Benson’s expectations concerning

BPAD employees’ telework (hereinafter, the “BPAD telework policy”). Id.; Ellis Decl. ¶ 10.


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       The Benson Declaration and all of its accompanying exhibits are included as a composite
in Defendant’s Exhibit 5. As the Deputy Budget Director, Benson was Kirton’s second-level
supervisor. Benson Decl. ¶ 3.

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       18.     Benson maintained her expectations regarding supervisors seeing their employees

in the office because, though the Agency had been generally becoming more telework friendly,

there was a change in CFO around this same time and the incoming CFO, Tom Lowry, was less

telework-friendly than the outgoing Chief Financial Officer, Ed Johnson, regarding Budget

Analysts because they were particularly customer service oriented. Benson Decl. ¶ 14. Lowry

conveyed that he wanted Budget Analysts to be in the office more irrespective of FEMA’s shift

in telework perspective, including Miller who Lowry required to come into the office

occasionally throughout the year though not as much as the other Budget Analysts. Id. So, when

the CFO changed there was a change in culture as it pertained to remote work for Budget

Analysts in OCFO. Id.

       19.     As further explained below, the BPAD telework policy, as stated in Benson’s

April 2015 email, did not immediately require a change in duty station for Mark Miller (who at

that time was already working remotely from his home in Oklahoma) or a change in the telework

arrangement for Jennifer Wohltman (who was full-time telework from New Jersey). Benson

Decl. ¶¶ 15-16; Ellis Decl. ¶ 10.

III.   Two Other BPAD Employees Who Were Permitted Full-Time Telework or a
       Change in Duty Station Before Plaintiff’s Requests in 2015.

               Mark Miller Granted Change in Duty Station in 2013.

       20.     In or around January 2013, Miller was permitted by his then-supervisors, Evan

Farley (“Farley”) and Michael Darby (“Darby”), to begin teleworking full-time so he could be

with his wife while she underwent medical treatments. FEMA 236-38 at 237 (Ex. 7).3 Darby

informed Miller that he either needed to request medical telework or FMLA. Id. at 236.


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       Documents with the bates label prefix “FEMA” refer to Defendants’ document
production in this case. Documents with the bates label prefix “Kirton AFPD” refer to the
Agency’s first production of documents in the administrative proceeding that preceded this
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       21.     In March 2013, Darby sent an email to Farley advising him of Miller’s request for

medical telework due to his own illness and included medical documentation to Miller and

references to FEMA policy. FEMA 144-47 at 144-45 (Ex. 8). Darby noted that Miller could be

granted medical telework for up to six months, but had to be reviewed by the supervisor every 30

days. Id. at 144-45. Darby informed Miller that his request for medical telework had been

approved. Id. at 144.

       22.     Effective July 2013, Miller’s duty station was changed from Washington, D.C., to

Moore, OK, where he lived. Notification of Personnel Action §§ 5-B and 39 (Kirton AFPD 735)

(Ex. 9); Kirton AFPD 75 (Ex. 18); see also FEMA 152 (Ex. 10); FEMA 148 (telework timeline

from Miller includes statements that from “2/20/13 to present I am under doctors care” and that

“medical documentation and new telework agreement submitted to supervisor”) (Ex. 11); FEMA

045-49 at 49 (Ex. 12) (Agency’s agreement from July 2013 to reassign Miller to Oklahoma for

six months and request for follow-up recommendation to the six-month extension expiration).

       23.     Accordingly, when Benson became the Deputy Budget Director of OCFO in June

2013, the Agency had already decided to permit Miller to work remotely on a full-time basis

from his home in Oklahoma, which became his official duty station. Benson Decl. ¶ 4. Miller’s

duty station and unique working arrangement was initially intended to be temporary and subject

to periodic review by Darby. Id. ¶ 5.

       24.     In 2013, the Agency informally decided to make Miller’s duty station change

permanent. Benson Decl. ¶ 5. Before he departed the Agency, Benson’s supervisor, Evan

Farley, instructed Benson that so long as Miller was performing adequately, the Agency was not


action. Attachments to emails that were produced as part of the Kirton AFPD production during
the administrative proceeding were not stamped with a bates label. For any such attachments
that are cited in this Statement of Facts, the email and attachment are grouped as a single exhibit.

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planning to take any action regarding Miller’s work arrangement. Id. ¶ 6. When Farley directed

Benson not to take any action regarding Miller’s remote work arrangement, she was not

concerned about it since Farley and Darby were satisfied with it so long as Miller was

performing adequately. Id. ¶ 8. For the next few years, Benson and Ellis followed their

predecessors’ decision to allow Miller to continue work remotely from his duty station in

Oklahoma. Id. ¶ 8; Ellis Decl. ¶¶ 4-5.

               Jennifer Wohltman Granted Full-Time Telework Status in 2014.

       25.     In 2014, Jennifer Wohltman, Accountant, requested to work from her home in

New Jersey full time. Benson Decl. ¶ 9. Benson approved Wohltman’s request in late 2014. Id.

       26.     Benson approved Wohltman to work from her home in New Jersey full-time

because she determined that it would not have any impact on her duties because she was

essentially teleworking full-time already since she was working at FEMA Headquarters in

Washington, D.C., and her clients worked at the FEMA Finance Center in Winchester, VA,

which is about 75 miles away from FEMA Headquarters. Benson Decl. ¶ 10. As a result, she

was essentially working remotely already. Id. Additionally, Wohltman was a stellar employee

and BPAD’s only accountant so Benson wanted to ensure that she did not leave the Agency,

which Benson believed she would do if they did not grant her request. Id.

       27.     Benson discussed changing Wohltman’s duty station with Johnson and Tom

Lowry, Deputy CFO, at that time, but they decided against it because they were unsure how long

she would stay with the Agency and did not want to go through the trouble of changing her duty

station if she was going to leave shortly thereafter. Benson Decl. ¶ 11. In addition, the locality

pay in New Jersey was higher than in Washington, D.C. Id. Accordingly, the Agency decided to

keep Wohltman’s official duty station as Washington, D.C. Id.



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       28.     Ellis, who became Wohltman’s supervisor in April 2015, concurred with

Benson’s assessment. Ellis Decl. ¶¶ 6-8. In particular, Ellis did not view Wohltman’s duties as

benefitting as much from or needed face-to-face interaction with others, as did the Budget

Analyst positions held by Miller and Plaintiff. Id. ¶ 7. Additionally, Wohltman’s customers

were physically located in the FEMA Finance Center in Winchester, VA; therefore, it was not as

necessary for Wohltman to come into the office. Id.

       29.     As with Miller, therefore, Ellis “grandfathered” Wohltman into her preexisting

telework arrangement. Ellis Decl. ¶ 8. Because there was not a compelling business need for her

to come into the office, it would have been unfair to require her to move her life back to

Washington, D.C. Id. Wohltman had also demonstrated high performance in her existing

telework arrangement. Id. And as the only accountant in BPAD, Ellis viewed Wohltman as

indispensable. Id.

IV.    The Agency’s Decision in 2016 to Deny Plaintiff’s Request for Full-Time Telework
       and/or Duty Station Change.

       30.     On December 18, 2015, Kirton submitted a request to Ellis via email for 95-100%

telework based on her commute from her home in Chester, Virginia. Ellis Decl. ¶ 11 & Ex. B

(Kirton AFPD 360-61) (Ex. 3); Benson Decl. ¶ 17.

       31.     In support of her request to telework at 95-100%, Plaintiff wrote the following to

Ellis and Benson:

       After speaking with you and discussing the agencies [sic] telework opportunities
       with my family [sic], [m]y family and I have reviewed the situation and believe due
       to my current commute situation, it would be most advantageous to us as a family
       and more beneficial to the agency, if I would make the request to perform 95-100%
       telework.

       Please be advised that this email serves as my official request to be approved to
       utilize the opportunity to participate in the agencies [sic] 95-100% telework
       program beginning January 2016. My current commute to work is approximately
       3 hrs each way. To avoid traffic congestion, I must leave my home at 2:30 in the

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       morning, which causes my work and family life to be compromised considerably.
       My family has supported my commuting situation for over 8 years but now due to
       family demographic changes, my long distance commute is causing strain on
       several areas of my family’s home life, which in turn can result in me taking
       extensive leave.

       Being able to telework at a higher rate will allow more time for me to work and
       interact with my peers via LYNC as well as have quality time to spend with my
       family. I am aware that I will be required to commute to DC periodically and I
       fully accept that requirement.

Kirton AFPD 360 (Ellis Decl. Ex. B) (Ex. 3). Plaintiff’s request to her supervisors referenced

her three-hour commute to and from Chester, VA, but made no mention of the fact that Plaintiff

had already decided to move to Florida at the end of the month.

       32.     That same day, December 18, 2015, Plaintiff forwarded her telework request in an

email to her colleague, Sheila Goode. Plaintiff stated that “come January I will email [Ellis]

each Tuesday and Wednesday to say I will be teleworking. [I]f she say[s] no then will inform

her that I have moved out of state and cannot come in the office but once a month.” Kirton

AFPD 666 (Ex. 13).

       33.     On December 20, 2015, Ellis emailed her superior, Benson, advising her of

Plaintiff’s request for full-time telework. Benson Decl. ¶ 18 & Ex. C (Kirton AFPD 662)

(Ex. 5). Unaware of the fact that Plaintiff had already decided to move her family to Florida,

which would render any sort of weekly commute impossible, Ellis proposed to Benson that the

Agency make an exception to BPAD policy by permitting Plaintiff to only come into the office

two days per pay period. Ellis Decl. ¶ 14 & Ex. C (Kirton AFPD 662) (Ex. 3).

       34.     Ellis proposed this as a compromise between the full-time (or nearly full-time)

telework that Plaintiff requested and the maximum telework of four days per pay period (i.e., two

days per week) that were permitted under BPAD policy at that time. Ellis Decl. ¶ 14; see also

Benson Decl. ¶ 18.


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       35.     Benson responded that she was “not comfortable deviating from [the] office norm

of in person 2 days a week without a justification on how you’ll accomplish mission, meet

customer needs, ensure equity with other staff, etc.” Benson Decl. ¶¶ 18-19 & Ex. C (Kirton

AFPD 662) (Ex. 5); Ellis Decl. ¶ 15. Benson advised Ellis to “not approve until that justification

has been provided.” Benson Decl. ¶¶ 18-19; Ellis Decl. ¶ 15. Ellis forwarded Benson’s request

for additional information to Plaintiff. Benson Decl. ¶ 19; Ellis Decl. ¶ 16.

       36.     On December 22, 2015, Plaintiff sent Ellis an email regarding her request for 95-

100% telework. Plaintiff advised that her request was based on her current commuting time to

and from Chester, VA, which was a minimum of 2 ½ to 3 hours one way. Ellis Decl. ¶ 16 & Ex.

D (2017 ROI, Tab G-14 at 3 of 4) (Ex. 3). Plaintiff’s email also states that she and her husband

had already decided to move to Florida, although the email does not specify when the move to

Florida would take place. Ellis Decl. Ex. D. Although the request was purportedly based on her

current commute time from her home in Chester, VA, Ellis interpreted it as a request to telework

fulltime from her new home in Florida, because a commute from Florida to D.C. would be

impossible. Ellis Decl. ¶ 16.

       37.     On December 29, 2015, after discussing the request with Benson and a Human

Resources Specialist, Julia Goldberg, Ellis responded by denying Plaintiff’s request for 95-100%

telework. Ellis Decl. ¶¶ 17-20 & Ex. E (2017 ROI, Tab F-2 at 2 of 3) (Ex. 3); Benson Decl. ¶ 20.

Ellis explained her decision as follows:

       I have reviewed your request for 95-100% telework, and subsequent change in duty
       station. Per FEMA’s Telework Policy, if an employee commutes into the office less
       than 2 days per pay period, the Duty station needs to change to the employee’s
       telework location.

       The BPAD Telework Policy is that every employee needs to come into the office
       at least 2 days per week. As a Funds Control Budget Analyst, your job requires
       face-to-face engagement with your customers and Analysis Branch counterparts.
       Also, coming into the office enhances team building with other staff members, on
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       the job training and promotes collaboration. This is all key to us improving our
       relationships with our customers to ensure we are on track to creating a proactive
       work environment. Additionally, because our division needs to have staff available
       in the office on a daily basis, and because most of our team regularly teleworks 2-
       3 times per week, I am not currently able to increase the amount of time that you
       telework away from the office. Unfortunately, I regret to inform you that I cannot
       approve an increase in your telework, and therefore I am also denying a change in
       Duty Station for you.

Ellis Decl. ¶ 20 & Ex. E; see also Ellis Affidavit ¶ 16 (Oct. 11, 2017) (2017 ROI, Tab F-2)

(Ex. 14) (explaining that she could not approve Plaintiff’s request because her duties as a Budget

Analyst required that she come into the office to meet with her customers and coworkers).

       38.     Plaintiff moved to Florida at the end of December 2015. On December 22, 2015,

Plaintiff sent an email to her friend, Beverly Pearson, concerning her telework request. Plaintiff

expressed her disappointment at Ellis’s decision to deny her request. Recounting her recent

conversation with Ellis, Plaintiff wrote to Pearson: “Then I dropped the bomb on her [Ellis]. I

told her after I spoke with Shalini and she made that statement about not where you work, my

husband and I decided to move to Florida which I will be moving the end of this month.. well

her mouth dropped open.” Kirton AFPD 661 (Ex. 15) (emphasis added).

       39.     On or about January 20, 2016, Kirton submitted a new request using the Agency’s

Telework Application and Agreement (FEMA Form 123-9-01). In this new application, Plaintiff

requested to telework (Alternative Work Location or “AWL”) Monday through Friday of the

first week and Monday and Tuesday of the second week. Ellis Decl. ¶ 21 & Ex. F (2017 ROI,

Tab G-6) (Ex. 3).

       40.     On or about that same date, Plaintiff and Benson had a conversation concerning

FEMA’s and BPAD’s telework policies as they pertained to her request for full-time telework.

As Benson explained in a January 20 email to Ellis:

       I asked how she [Plaintiff] was doing and how her move went. We had a discussion
       about FEMA’s telework policy and BPAD’s telework policy. I went over my rule
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       that folks see their direct reports twice a week. I let her know that when there were
       deviations form that policy – for example, when she teleworked all of last week and
       when her brother passed, that your checked with me before approving that.

       I let her know that you’d be sending her the email I sent out to all the branch chiefs.
       She expressed concern that our telework policy was unfair because some employees
       were granted flexibilities that others were not.

       I did not comment on the specifics of the two individuals who were on full time
       telework or near full time telework. I did tell her that all requests employees
       submitted were considered carefully. I did also let her know that other organization
       with similar customer service missions, such as OPPA, telework a lot less
       frequently (1 day per week) than BPAD and reiterated that telework is the managers
       discretion.

       She mentioned she filled out her request again, this time using the proper forms.

Benson Dec. ¶ 22 & Ex. E (Kirton AFPD 554) (Ex. 5).

       41.     The new application that Plaintiff submitted on January 20, 2016, stated that

Plaintiff would come into the office Wednesday and Thursday of the second week and Friday

would be an off-day due to her compressed work schedule (CWS). Ellis Decl. Ex. F (Ex. 3).

The application requested this new telework arrangement to begin on February 21, 2016. Id.

The application listed Plaintiff’s official duty station as Washington, D.C. Plaintiff designated

her home address in Chester, Virginia, as the alternate work location where she would be

teleworking. Id.; Ellis Decl. ¶ 22; Ellis Decl. Ex. G (2017 ROI, Tab G-10) (Ex. 3).

       42.     On January 21, 2016, Ellis emailed Plaintiff the guidance she received from

Benson on April 23, 2015, regarding the requirement that employees be in the office at least two

days per week. Ellis Decl. ¶ 21 & Ex. G (2017 ROI, Tab G-10) (Ex. 3). Plaintiff responded,

“Thank you Melissa I appreciate your input; however I am going to stick with the request sent to

you on yesterday.” Ellis Decl. Ex. G.

       43.     Ellis denied the request a second time because Plaintiff had provided no new

information in support of her request. Ellis Decl. ¶¶ 22-23; Ellis Decl. Ex. G (Ex. 3). Moreover,


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it was unclear to Ellis why Plaintiff had indicated on the application that she would be

teleworking from Chester, VA, when in fact she had already moved from Virginia to Florida. Id.

       44.     On January 29, 2016, Plaintiff appealed Ellis’ denial of Plaintiff’s telework

request to Benjamin Moncarz, Budget Director, and Matthew Allen, Executive Officer, who

forwarded the appeal to Benson, Plaintiff’s second level supervisor. 2017 ROI, Tab G-11 at 2-3

of 5 (Ex. 16). Benson reached out to Kirsten Gunsolus, Human Resource Specialist, who helped

draft a response. Benson Decl. ¶ 20.

       45.     Benson denied Plaintiff’s appeal because she determined that Plaintiff had not put

forth an adequate justification in support of her request for full-time telework. Benson ¶ 20.

Also problematic for Benson was the fact that Plaintiff had evidently created the circumstances

underpinning her need for full-time telework. Id. Benson felt it was rather presumptuous of her

to move to Florida before she obtained approval for her request for full-time telework. Id.

       46.     While the Agency generally tried to be accommodating of employees, granting

Plaintiff’s request would mean Plaintiff would be out of the office more than permitted by BPAD

policy and contrary to Benson’s expectations on telework. Benson Decl. ¶ 21. Benson was

concerned that if the Agency granted Plaintiff’s request other employees would expect that the

Agency would also grant similar requests until everyone was working remotely close to full-

time. Id. Benson did not want to set a precedent that anyone could just create the circumstances

to justify full-time telework, like moving far away from their duty station as Plaintiff had, and

then request full-time telework. Id.

       47.     Benson denied Plaintiff’s appeal for the above reasons on February 2, 2016,

advising Plaintiff that she agreed with Ellis’s decision to deny the request. Benson Decl. ¶ 22 &

Ex. D (ROI Tab G-11 at 2 of 5) (Ex. 5).



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V.     Reminders Sent to All BPAD Employees in 2016 Regarding BPAD Telework Policy.

       48.     On February 16, 2016, Benson sent an email advising all employees of the BPAD

telework policy that each supervisor and direct report must be in the office together a minimum

of twice a week. “Exceptions may only be granted through [Budget Director Benjamin

Moncarz] and / or [Benson].” Kirton AFPD 730 (Ex. 17).

       49.     On May 2, 2016, Ellis sent an email to her subordinates. Among other things,

with regard to telework she advised her employees, including Miller, Wohltman, and Miller, that

“two days in the office weekly is the expectation however I am flexible if you need to change

your days.” Ellis Decl. ¶ 24 & Ex. H (Kirton AFPD 389-90) (Ex. 3).

VI.    The Agency’s Unsuccessful Attempt to Bring Miller Into Compliance with BPAD
       Telework Policy and Miller’s Removal Due to Poor Performance.

       50.     In late May and early June 2016, Ellis started working with HR Representative

Goldberg regarding changing Miller’s duty station back to Washington, D.C., due to the nature

of his job and in the hopes that doing so would help improve his lagging performance. Ellis

Decl. ¶ 11 & Ex. I (FEMA 017) (Ex. 3).

       51.     On June 29, 2016, Ellis sent Miller an email advising him that the Agency

intended to change his duty station back to Washington, D.C., effective November 1, 2016, to

bring his work situation into alignment with BPAD policy that required everyone to come into

the office at least two days per week. Ellis Decl. ¶ 26 & Ex. J (Kirton AFPD 067) (Ex. 3). “As a

Funds Control Budget Analyst, your job requires face-to-face engagement with customers and

your Analysis Branch counterparts.” Ellis Ex. J (Ex. 3).4



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        Around this time in July 2016, Benson transferred another Division within FEMA and
was no longer in Plaintiff’s chain of command. Benson Decl. ¶ 27. Annemarie Juhlin became
Plaintiff’s new second-line supervisor. Id.

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       52.     The Agency needed to ensure sufficient personnel in the office on a daily basis

and Ellis felt that Miller’s performance would improve if he were required to come into the

office for face-to-face client interaction and collaboration with colleagues at least two days per

week. Ellis Decl. ¶ 27. The Agency gave Miller several months of advanced notice in case the

Union wanted to bargain over the move and because he had been living in Oklahoma for a few

years and Ellis wanted to give him a sufficient opportunity to make the necessary arrangements

to move back to the Washington, D.C., area after having been gone for so long. Id.

       53.     On July 25, 2016, Miller responded to Ellis’s duty station change letter with

medical documentation advising against changing his work arrangement from home- to office-

based work and recommending that he be permitted to continue working from his home in

Oklahoma City. Ellis Decl. ¶ 28 & Ex. (FEMA 276-77) (Ex. 3).5 Ellis interpreted this to be a

request for reasonable accommodation. Id. Ellis coordinated the Agency’s response with the

Agency’s Office of Equal Rights. Id.

       54.     On July 27, 2016, Miller and Ellis discussed Miller’s work performance. Ellis

Decl. ¶ 29 & Ex. L (FEMA 005-07). Ellis followed up with Human Resources to consider the

Agency’s options for potentially accommodating Miller while also addressing his performance

issues. Id. ¶ 30 & Ex. L at FEMA 005 (Ex. 3).

       55.     Miller initiated a formal request for reasonable accommodation in September

2016. Miller requested to be permitted to retain his duty station in Moore, Oklahoma, as an

accommodation for his medical issues. Ellis Decl. ¶ 31-33; Ex. M (FEMA 004 and attachment);




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        Miller’s specific medical condition is not relevant to this action. To protect his privacy,
Defendant has redacted any references to Miller’s specific medical condition from the exhibits
filed with this Motion.

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Ex. N (FEMA 003 and attachment); Ex. O (FEMA 278-85, 292) (all three documents part of

Defendants’ Exhibit 3).

       56.     After engaging in the interactive process with Miller, the Agency ultimately

denied his request to work remotely full time because it determined that Miller could not perform

the essential functions of the Budget Analyst position while working remotely from Oklahoma

on a full-time basis. Ellis Dec. ¶ 34 & Ex. N.

       57.     In an attempt to further address Miller’s lagging performance, the Agency also

decided to place Miller a Performance Improvement Plan (“PIP”). Ellis Decl. ¶ 35. In the

meantime, as a temporary accommodation the Agency permitted Miller to continue working

from Oklahoma during the PIP. If Miller’s performance improved and he successfully

completed his PIP, then Ellis intended to consult further with Human Resources and the Office

of Equal Rights as to the Agency’s options regarding Miller’s duty station and telework

arrangements on a more long-term basis.

       58.     Ellis issued the PIP in January 2017, giving Miller an opportunity to demonstrate

acceptable performance. Ellis Decl. ¶ 36. Ultimately, Miller’s performance did not improve,

which prompted his removal in August 2017. Id. ¶¶ 36-37 & Exs. P-R (Ex. 3).

VII.   Wohltman’s Change in Duty Station to New Jersey.

       59.     Plaintiff’s telework request alerted Ellis and Benson to the fact that BPAD had

another employee, Jennifer Wohltman, whose telework arrangement needed to be reexamined

and brought into compliance with FEMA’s and BPAD’s telework policy. Benson Decl. ¶ 23;

Ellis Decl. ¶ 38.

       60.     Ellis was willing to continue permitting Wohltman to work from her home in

New Jersey, but also wanted to bring her work arrangement into compliance with applicable

Agency policy. Ellis Decl. ¶ 39. Therefore, Ellis sought permission from Benson to change
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Wohltman’s official duty station to her home in New Jersey. Id. ¶ 39. In response, Benson

recommended that Ellis work with a Human Resources Specialist to decide whether to move

forward with the request. Id.

       61.    Unlike Plaintiff or Miller, Wohltman was an Accountant whose work was

independent. Ellis Decl. ¶ 40. Wohltman’s official duty station was in FEMA Headquarters in

Washington, D.C. Id. Her customers were located at FEMA Finance Center, in Winchester,

VA, however, which is 75 miles away. Id. That meant that regardless of whether her official

duty station was Washington, D.C., or New Jersey, it was not likely to have a significant impact

on the amount of time she would spend on site at the FEMA Finance Center. Id.

       62.    In Ellis’s assessment, the above factors made Wohltman’s job more suitable for

remote work. Ellis Decl. ¶ 41. Additionally, her husband was working in New Jersey and she

had recently given birth. Ellis was worried that terminating Wohltman’s telework arrangement

would compel her to seek employment elsewhere, which would not have been a desirable

outcome because Ellis considered Wohltman a high performer. Id.

       63.    On May 23, 2016, Ellis sent a request to Benson asking for permission to change

Wohltman’s duty station to New Jersey. Ellis Decl. ¶ 42 & Ex. S (Kirton AFPD 392-93) (Ex. 3).

In the May 23 request, Ellis listed the pros and cons of changing Wohltman’s duty station.

Among her comments, Ellis noted that Wohltman’s current telework situation was not in

compliance with the FEMA Telework policy and that all employees needed to be in the office a

minimum of two days per pay period. Id. Changing Wohltman’s duty station to New Jersey

would bring her into compliance with the FEMA and BPAD telework policies. Id.

       64.    On July 8, 2016, Ellis sent another memorandum to Benson requesting permission

to permit Wohltman to change her duty station to her home in New Jersey. Ellis Decl. ¶ 43.



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        65.    In support of the request, Ellis stated that Wohltman was the only Accountant in

BPAD and her duties were different from the Budget Analysts and other employees in BPAD.

Ellis Decl. ¶ 43 & Ex. S (Ex. 3). Wohltman’s work was performed independently and her sole

customer was the OCFO FEMA Finance Center in Winchester, VA. Id. Therefore, changing her

duty station from D.C. to New Jersey would not have likely have any great effect on her ability

to collaborate with her clients. Id.

        66.    Additionally, Ellis noted that Wohltman’s performance had been superior, she had

received a DHS Outstanding Employee Award from the Secretary of DHS, and had been one of

only three OCFO employees to receive a Quality Step Increase due to her stellar performance.

Ellis Decl. ¶ 45. In other words, she had already demonstrated consistent performance at a high

level while teleworking. Id. Ellis also noted that if they did not agree to change Wohltman’s

duty station to New Jersey, she would likely seek another job, and that it would be difficult to

replace her. Id.

        67.    Benson signed Ellis’s request and forwarded it to Benjamin Moncarz, Budget

Director, on July 15, 2018. Ellis Decl. ¶ 42 & Ex. T (Kirton AFPD 373) (Ex. 3); Benson Decl.

¶ 24.

        68.    On August 11, 2016, Moncarz approved Ellis’s request to change Wohltman’s

duty station to her home in New Jersey. Ellis Decl. ¶ 45 & Ex. U (Kirton AFPD 719) (Ex. 3).

Moncarz stated that he was granting the request because: (1) she did not have any customers in

Washington, D.C. that require consistent interactions; (2) her work is done independently; and

(3) her sole customer was the OCFO Finance Center located in Winchester, VA so she was

already working in a location different from her customer since her duty station was FEMA

Headquarters in Washington, D.C. Ellis Decl. Ex. T.



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Dated: September 9, 2020           Respectfully submitted,

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